           UNITED STATES DISTRICT COURT
    FOR THE WESTERN DISTRICT OF NORTH CAROLINA


UNITED STATES OF AMERICA


       V.                                                CASE NO.:
                                                       DNCW210CR000017-001

BRIDGEO MARTINO PHILLIPS, SR.


                                      ORDER


      THIS MATTER is before the Clerk due to a fiduciary responsibility to

disburse restitution payments in accordance with the Judgments of this Court and

the Mandatory Victims Restitution Act (MVRA).

      For the purposes of this Order, the term “victim” is legally defined in 18

U.S.C. §§3663(2). The Judgment (Doc. 22) and Amended Judgment (Doc. 25)

order restitution in the amount of $451,556.00 to be paid to the following victim:

“ESTATE OF THE VICTIM.” However, neither Judgment specifies the victim

whose Estate was ordered to receive this restitution. As outlined in the Presentence

Investigation Report (Doc. 20), the deceased in this case is the defendant’s wife,

MIRIAM CLAUDETTE PHILLIPS.

      A request to change the victim name for restitution purposes has been

presented to the Clerk for the following reason:

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      ☐    change in marital status
      ☐    death of original victim

      ☐    dissolution of business or change of business name

      ☒    (other): Add victim’s name: MIRIAM CLAUDETTE PHILLIPS

      Pursuant to the Guide to Judiciary Policy, Volume 13, Chapter 8,

§820.60.20 (b), changes to the name of a victim to whom the Clerk’s Office

disburses restitution must be made by a Court Order or Amended Judgment.

      The Clerk has confirmed with the US Attorney’s Office that the Estate in

question is that of MIRIAM CLAUDETTE PHILLIPS and that “ESTATE OF

MIRIAM CLAUDETTE PHILLIPS” is the rightful recipient of this restitution.

      THEREFORE, IT IS HEREBY ORDERED that the request for a name

change for restitution purposes is GRANTED, and the US District Clerk’s

Financial Department is hereby directed to disburse restitution payments

accordingly to ESTATE OF MIRIAM CLAUDETTE PHILLIPS.

      A copy of this Order is to be served on all parties and the Financial

Department of this Court.

      SO ORDERED, this 29th day of September, 2021.




                                                    Frank G. Johns, Clerk

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